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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

         vs                           4:06CR00410-06-BRW
                                      4:09CR00241-01-BSM

HOLLIS G. BROWN

                              AMENDED AND SUBSTITUTED
                     JUDGMENT AND COMMITMENT OF SEPTEMBER 22, 2011

         The above entitled matters came on for a hearing on the petitions to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate certain conditions of his supervised release without just cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

         The defendant is sentenced to a period of 12 months at a designated Bureau of Prisons

correctional facility in 4:06CR00410-06-BRW and 4:09CR00241-01-BSM to run concurrently. The

defendant is to participate in residential or nonresidential substance abuse treatment during

incarceration. The defendant is to be designated at a BOP facility in Arkansas.

         A term of supervised release of 2 years is imposed to follow imprisonment. All general and

standard contitions previously imposed remain in full force and effect. The defendant shall

participate under the guidance and supervision of the U.S. Probation Office, in a substance abuse

treatment program which may include testing, outpatient counseling, and/or residential treatment.

Further, the defendant shall abstain from the use of alcohol throughout the course of treatment.

Supervised Release is to be administered by the district where the defendant is a legal resident

and/or where a suitable release plan has been developed.

         The defendant is remanded into the custody of the U.S. Marshal.

         IT IS SO ORDERED this 23rd day of September, 2011.

                                                            /s/Billy Roy Wilson
                                                     UNITED STATES DISTRICT JUDGE
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